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                                         U.S. Department of Justice
[Type text]
                                                   United States Attorney
                                                   Southern District of New York
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007

                                                   July 30, 2023
By ECF
The Honorable Ronnie Abrams
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007
              Re:    United States v. Devon Archer, 16 Cr. 371 (RA)
Dear Judge Abrams:

      The Government writes to follow up on its July 29, 2023 letter apprising the Court of the
Second Circuit’s mandate affirming the judgment of conviction in this matter.

        The Government understands that the defendant is scheduled to provide testimony to
Congress tomorrow, July 31, 2023. To be clear, the Government does not request (and has never
requested) that the defendant surrender before his Congressional testimony. As the Court knows,
to surrender and commence his sentence of imprisonment, the defendant first must be designated
to a federal facility by the Bureau of Prisons—a process that can take several weeks or months
after the Court sets a surrender date.

        Nonetheless, for the avoidance of all doubt, the Government requests that any surrender
date, should the Court order one, be scheduled to occur after the defendant’s Congressional
testimony is completed.

       We thank the Court for its consideration.

                                                   Respectfully submitted,

                                                   DAMIAN WILLIAMS
                                                   United States Attorney

                                               By: /s/ Negar Tekeei                   .
                                                  Negar Tekeei
                                                  Assistant United States Attorney
                                                  (212) 637-2482

cc:    Matthew Schwartz, Esq. (via ECF)
       Craig Wenner, Esq. (via ECF)
